 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 1 of 37 PageID 3512


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SAMSUNG ELECTRONICS                             §
AMERICA, INC.,                                  §
                                                §
               Plaintiff,                       §
                                                §
vs.                                             §
                                                §        CIVIL ACTION NO. 3:15-CV-04108-D
YANG KUN “MICHAEL” CHUNG,                       §
THOMAS PORCARELLO, YOON-                        §
CHUL “ALEX” JANG, JIN-YOUNG                     §
SONG, ALL PRO DISTRIBUTING,                     §
INC.,                                           §
                                                §
               Defendants.                      §


                      PLAINTIFF’S THIRD AMENDED COMPLAINT

       Plaintiff Samsung Electronics America, Inc. (“Samsung” or “Plaintiff”) files this Third

Amended Complaint against Defendants Yang Kun “Michael” Chung (“Chung”), Thomas

Porcarello (“Porcarello”), Yoon-Chul “Alex” Jang (“Jang”), Jin-Young Song (“Song”)

(collectively, the “Employee Defendants”), and All Pro Distributing, Inc. (“All Pro”), and in

support thereof, would respectfully allege as follows:

                                                I.

                               PRELIMINARY STATEMENT

       This action arises based upon a conspiracy involving Samsung employees and Samsung’s

business partners to defraud Samsung. All Pro – an authorized Samsung distributor – is a

company involved in the business of distributing Samsung parts. All Pro has wrongfully paid

bribes and kickbacks to certain Samsung employees who formerly were involved in the




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                     Page 1
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 2 of 37 PageID 3513


management and sale of Samsung parts, including Chung, and possibly others, in exchange for

special, improper benefits that came at the expense of Samsung.

         The conspiracy was vast and multi-faceted, and involved an array of complex efforts to

wrongfully benefit Defendants at Samsung’s expense. One aspect of the conspiracy, however,

was simple – All Pro would provide Samsung employees with benefits, including large cash

payments, and in return, those employees wrongfully provided All Pro with parts at extremely

discounted prices, and in some instances, for free. All Pro then could sell those parts on the gray

market at artificially low prices, significantly undercutting Samsung, while still turning a profit.

         In another aspect of the conspiracy, certain of the Employee Defendants engaged in

auction rigging. Samsung, concerned that it was not realizing maximum profits on the sale of its

parts, mandated the implementation of an auction system in an effort to increase competition and

raise profits in connection with the sale of parts. The conspirators, however, merely recalibrated

their scheme to work around the auction process. More specifically, All Pro paid kickbacks to

Chung and others to rig the auction process, allowing All Pro to essentially steal Samsung parts

by acquiring them at deeply discounted prices in a non-competitive auction process. Porcarello,

meanwhile, steered Samsung to hire an auctioneer to run an online auction to sell excess

Samsung parts while Porcarello was secretly being paid by the auctioneer.

         The Employee Defendants’ various rogue efforts to sabotage their employer did not stop

there.   Porcarello also operated a secret side business offering and selling misappropriated

Samsung parts to third parties. For Chung, it was not enough to merely sabotage his own

employer. While shirking his duties of loyalty to Samsung, Chung assisted in the distribution

channel for iPhone parts in exchange for bribes – indirectly benefitting a competitor of

Samsung’s in the telecommunications space.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                            Page 2
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                  Page 3 of 37 PageID 3514


       The net effect of the wrongful scheme was severely detrimental to Samsung for any

number of reasons. As an initial matter, the diversion of Samsung parts at improperly discounted

prices, and distribution of counterfeit devices, allowed All Pro to make a profit on such sales,

while significantly undercutting Samsung. By bribing Samsung’s employees, All Pro received

the goods at improperly discounted prices. All Pro was then able to distribute the goods at

artificially low prices, while still turning a substantial profit. Samsung, meanwhile, was deprived

of reaping the benefits of its substantial capital expenditures.

       Despite their obligations of trust and confidence, the Employee Defendants betrayed their

fiduciary obligations to Samsung for their own gain and to the severe detriment of Samsung. By

this Complaint, Samsung seeks redress for the substantial harm incurred as a result of

Defendants’ unlawful conduct.

                                                  II.

                                             PARTIES

A.     Plaintiff

       1.       Plaintiff Samsung Electronics America, Inc. (“Samsung”) is a New York

corporation with its principal place of business at 85 Challenger Road, Ridgefield Park, New

Jersey 07660.

B.     Defendants

       2.       Yang Kun “Michael” Chung (“Chung”) is an individual and a resident of the State

of Texas. Chung has been served and made an appearance in this matter.

       3.       Thomas Porcarello (“Porcarello”) is an individual and a resident of the State of

Texas. Porcarello has been served and made an appearance in this matter.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                          Page 3
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 4 of 37 PageID 3515


       4.      Yoon-Chul “Alex” Jang (“Jang”) is an individual and a resident of the State of

Texas. Jang has been served and made an appearance in this matter.

       5.      Jin-Young Song (“Song”) is an individual and a resident of the State of Texas.

Song has been served and made an appearance in this matter.

       6.      All Pro Distributing, Inc. (“All Pro”) is a foreign corporation duly formed and

existing under the laws of the State of California. All Pro has, at all times material to this action,

engaged in business in Texas, as more particularly described below, but is not required to, and

does not, maintain a designated agent in the State of Texas on whom service of citation may be

made in this action. The causes of action asserted herein against All Pro arise from, or are

connected with, purposeful acts committed by All Pro in Texas. All Pro has been served and

made an appearance in this matter.

                                                 III.

                                 JURISDICTION AND VENUE

       7.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331, 1332, 1338,

and 17 U.S.C. § 1203 because Samsung’s claims for violations of the United States Trademark

Act, Title 15 of the United States Code, arise under federal law. This Court has supplemental

jurisdiction pursuant to 28 U.S.C. § 1367 over Samsung’s state law claims because those claims

are so related to the federal claims that they form part of the same case or controversy.

Jurisdiction in this Court is also proper under 28 U.S.C. § 1332 because the parties are of diverse

citizenship and the amount in controversy is in excess of $75,000.

       8.      Pursuant to 28 U.S.C. § 1391, venue is proper in the United States District Court

for the Northern District of Texas, Dallas Division, because a substantial part of the events or

omissions giving rise to the claims asserted herein occurred within the Northern District of




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                            Page 4
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 5 of 37 PageID 3516


Texas, and the Court has personal jurisdiction over Defendants. Venue is also proper in this

Court because certain of the applicable agreements under which this action arises designate

federal or state courts sitting in Dallas County, Texas as the venue for any disputes relating to

such agreements.

       9.      Defendants are subject to the personal jurisdiction of this Court pursuant to Tex.

Civ. Prac. & Rem. Code § 17.042 because Defendants do business and/or reside in Texas,

breached contracts that were to be performed, in whole or in part, in the State of Texas, and

committed tortious acts within the State of Texas.

                                               IV.

                          RELEVANT FACTUAL BACKGROUND

A.     Samsung And Its Affiliates

       10.     Samsung is a wholly owned subsidiary of Samsung Electronics Co., Ltd.

(“Samsung Ltd.”), a Korean company.

       11.     In January 2015, Samsung merged with another wholly-owned subsidiary of

Samsung Ltd., Samsung Telecommunications America, LLC (“Samsung Telecom”).                     The

merger combined Samsung Ltd.’s two main consumer facing U.S. businesses, Samsung and

Samsung Telecom, into Samsung. Samsung commercializes, markets, and sells a variety of

electronics products in the U.S., including cellular telephones, tablets, and wearables, as well as

home appliances and consumer electronics. Samsung also sells parts to be used in connection

with the servicing and refurbishing of Samsung mobile devices.

       12.     As a fundamental part of its business, Samsung Telecom enters into agreements

with third-party servicers and distributors such as All Pro. These contracts set forth the terms

and conditions of the business relationship between Samsung Telecom and its business partners.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                          Page 5
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 6 of 37 PageID 3517


Importantly, however, these contracts also set forth restrictions and limit the vendors’ scope of

services.

B.     The Employee Defendants Were Former Samsung Employees Engaged In The
       Management and Sale of Samsung Parts.

       (i)     Michael Chung

       13.     In or around October 2011, Chung was hired by Samsung Telecom as the Director

of Reverse Logistics, SMC Parts Management. Chung resigned from employment on September

25, 2015. At the time of his resignation, Chung was the Senior Director of Service Operations.

       14.     Chung’s responsibilities to Samsung included operations related to the reuse of

Samsung products. Chung was responsible for the management and the sale or resale of surplus

as well as returned Samsung products and parts. In this role, Chung had a very close relationship

with distributors like All Pro.

      (ii)     Thomas Porcarello

       15.     Porcarello was originally hired by Samsung Telecom as an Inventory Control

Manager in or about August 2011. In this role, Porcarello was entrusted with evaluating parts

suppliers, and managing, purchasing, and tracking parts. Porcarello was responsible for ensuring

the company had the right amount of product to meet its customers’ needs and also to avoid

overstocking items which ties up cash and creates storage issues.

      (iii)    Yoon-Chul “Alex” Jang

       16.     Jang was hired in July 2007 as a contractor and was shortly thereafter converted

 to a full time employee of Samsung Telecom. Jang recently held the position of procurement

 manager and reported to Chung. Generally, Jang worked on the service side, repairing parts and

 phones.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 6
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 7 of 37 PageID 3518


       (iv)    Jin-Young Song

        17.    Song was hired by Samsung Telecom on March 26, 2012, and resigned October 5,

2015. Song served as the Repair Operations Specialist in the Repair Operations department.

C.      The Employee Defendants Contractually Agreed to Act in the Best Interest of
        Samsung.

        18.    As part of their employment, the Employee Defendants acknowledged and agreed

to be bound by Samsung Telecom’s policies and procedures. These policies, included, but were

not limited to the following agreements:          (1) Confidentiality and Inventions Employee

Agreements; (2) the Employee Handbook; (3) Information Technology Use of Company

Resources Policy; (4) Information Security Pledge; (5) the Samsung Compliance Program and

Code of Conduct; (6) Nondisclosure Agreements; and (7) Acknowledgement of Anti-Trust

Training (the “Employment Agreements”).

        19.    The Employee Defendants executed acknowledgments, agreeing to follow the

policies and procedures set forth in Samsung Telecom’s Employee Handbook (“Handbook”).

The Handbook provides, in relevant part that, “[a]s an STA [Samsung Telecom] employee, you

are expected to act at all times in the best interest of STA and to exercise sound judgment

unclouded by personal interests or divided loyalties. Both in performing your duties at STA and

in your outside activities, you should avoid the appearance as well as the reality of a conflict of

interest.”

        20.    According to the Handbook, “A conflict of interest exists if your circumstances

would lead a reasonable person to question whether your motivations are aligned with the best

interests of STA. If for example, you are involved in an outside activity or have a financial or

other personal interest that might interfere with your objectivity in performing company duties

and responsibilities, you may have a conflict of interest.”



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                          Page 7
  Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 8 of 37 PageID 3519


        21.     The Handbook provides examples of “some of the most common conflict-of-

interest situations.” Included in the list of examples are the following, which are particularly

applicable in this matter:

                •      A personal financial transaction or relationship with a client,
                       market, prospect, supplier[,] agent or competitor of STA.
                •      Employees may not directly or indirectly benefit, or seek to
                       benefit, from his or her position as an employee of STA from any
                       sale, purchase or other activity of STA.
                •      Employment Outside of STA – Moonlighting.
                •      Kickbacks and Rebates by Vendors.
                •      Gifts from Vendors or Customers Outside Activities.

        22.     Pursuant to the Handbook, employees must make “prompt and full disclosure in

writing to STA’s Corporate Compliance Committee of any situation that may involve a conflict

of interest.”

        23.     The Handbook also requires Samsung to create and maintain accurate books and

records. In particular, the Handbook provides that, “Dishonest reporting or failure to disclose

information that by law or contract must be disclosed, is prohibited and could lead to civil or

criminal liability.”   According to the Handbook, “This includes reporting information or

organizing the information in a way that is intended to mislead or misinform recipients, whether

inside or outside STA. Employees found to be making inaccurate and/or misleading reports will

be subject to discipline up to and including immediate termination and possible legal

prosecution.” [Emphasis added.]

        24.     Samsung’s Handbook also provides that purchases of products and services will

be “based on merit.” Of particular significance, the Handbook states:

                Kickbacks, Rebates and Gifts – Purchases of goods and services must not
                lead to employees or their friends or families receiving personal kickbacks
                or rebates. Associates and their immediate family may accept only



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                           Page 8
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                  Page 9 of 37 PageID 3520


              infrequent meals, entertainment or gifts of a reasonable value from
              vendors or suppliers.

       25.    In addition to the Handbook, Samsung maintains additional policies and

procedures, including a Conflicts of Interest Procedure and Policy (“Conflicts Policy”) and

Prohibition of Fraud and Bribery Procedure (“Fraud and Bribery Policy”).

       In pertinent part, the Conflicts Policy provides:

       STA prohibits its employees from engaging in any of the following activities
       without the prior written consent of the employees supervisor, STA’s General
       Counsel, and the Chief Executive Officer.... Giving, soliciting or accepting gifts,
       favors, loans or other benefits or preferential treatment (other than business
       related meals and entertainment [as defined in Conflicts Policy] and non-nominal
       gifts [as defined in Conflicts Policy]) from any person or entity that does business
       or seeks to do business with STA. Under this policy, it is never permissible, and
       may even be unlawful, for an employee to provide, solicit, demand, or accept
       anything of tangible value, such as a gift, benefit or favor, with the intent of being
       influenced or rewarded in connection with any STA business or transactions.
       REGARDLESS OF ANY GUIDELINES SET FORTH IN THIS POLICY,
       STA’S BUSESS (sic) AND ETHICS GUIDELINES OR ANY OTHER STA
       POLICY, IT IS THE POLICY OF STA TO PROHIBIT AN EMPLOYEE FROM
       OFFERING OR RECEIVING OF (sic) ANY GIFT, FAVOR, GRATUITY OR
       ENTERTAINMENT THAT DOES, OR MIGHT BE PERCEIVED TO,
       UNFAIRLY INFLUENCE ANY STA BUSINESS INTERACTION. [Emphasis
       in original.]

       26.    With respect to Samsung’s Fraud and Bribery Policies, it states, “we expect and

demand that each of [Samsung’s] employees refrain from participating in any fraud, offering or

paying and bribes or receiving or requesting any kickbacks.”

D.     All Pro Was An Authorized Distributor of Samsung Parts.

       27.    All Pro was an authorized distributor of Samsung parts. All Pro was incorporated

on August 31, 2000, in the State of California. The company’s governing person is Shachar

Shabtay (“Shabtay”).




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                             Page 9
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18               Page 10 of 37 PageID 3521


       28.     In March 2008, Samsung Telecom and All Pro entered into an agreement for the

Terms and Conditions of Sale Service Parts, whereby Samsung Telecom would sell phone parts

to All Pro.   In February 2011, the parties entered into a Distributor Agreement, whereby

Samsung Telecom agreed to sell to All Pro, and All Pro agreed to purchase, certain products

from Samsung Telecom. Neither party could, without the prior written consent of the other

party, use any of the other party’s trademarks, trade names, corporate slogans or logos, or

product designations for any purpose. In addition, neither party acquired any rights to any

trademark, trade name or logo of the other party.

       29.     All Pro was expressly denied any license under any patents, copyrights,

trademarks or trade secrets of Samsung Telecom. The contract further prohibited All Pro from

disclosing any of Samsung’s confidential information. Specifically, Samsung and All Pro agreed

that they would only use such confidential information for the purpose of carrying out their

respective obligations under the Distributor Agreement and likewise prohibited the unauthorized

disclosure or dissemination of such confidential information.

       30.     In March 2013, All Pro and Samsung Telecom entered into an Accessory

Distributor Agreement whereby All Pro was authorized to sell accessory products to authorized

Samsung retailers. This contract prohibited unauthorized distribution of Samsung’s products and

prevented All Pro, without prior written consent, from using any of Samsung’s trademarks.

Moreover, All Pro was expressly denied any license under any patents, copyrights, trademarks or

trade secrets of Samsung Telecom.       Specifically, All Pro is prohibited without the written

consent of Samsung from using any of Samsung’s trademarks, trade names, slogans or logos, not

is All Pro permitted to knowingly do anything to materially infringe, impeach or lessen the value

of Samsung’s trademarks, patents, trade name or logo.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 10
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18               Page 11 of 37 PageID 3522


       31.    The Accessory Distributor Agreement also prohibited All Pro from disclosing any

of Samsung’s confidential information. Accordingly, Samsung and All Pro agreed that they

would only use such confidential information for the purpose of carrying out their respective

obligations under the Distributor Agreement and likewise prohibited the unauthorized disclosure

or dissemination of such confidential information.

       32.    After the filing of this lawsuit, Samsung terminated the agreements referenced

above. In contravention to its ongoing contractual obligations post-termination, All Pro violated

the agreements and infringed Samsung’s trademarks by continuing to hold itself out to the public

and to its wholesale customers on its website, LinkedIn profile, and elsewhere that it is an

authorized Samsung distributor when, in fact, it is not. These agreements unequivocally state

that, upon termination, All Pro ceases to be an authorized wholesale distributor of Samsung

products and must remove all of Samsung’s marks and brand names from its advertising. All

Pro is in violation of these provisions by continuing to misrepresent its status as an authorized

wholesale provider of Samsung products.

E.     Chung and Porcarello Wrongfully Provide Third Parties With “Build Kits,” For
       The Purpose of Diverting Counterfeit Devices to All Pro.

       33.    From 2012-2014, Chung, Porcarello, and other Samsung employees wrongfully

provided “build kits” to third parties. The build kits contained all of the necessary component

parts to assemble certain Samsung mobile devices. Included in the build kits were parts known as

PBAs and OCTAs.

       34.    PBAs are the brains of the mobile device, and contain Samsung’s intellectual

property. Due to their critical importance to the device, Samsung does not permit PBAs to be

sold on the open market.     Rather, old, obsolete, and irreclaimable PBAs are destroyed by

Samsung. Similarly, Samsung does not permit the sale of its OCTAs, which are the highly



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 11
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 12 of 37 PageID 3523


technological touch screen components of the devices. Samsung’s OCTAs have a proprietary

design and each one is emblazoned with the Samsung trademark, “SAMSUNG,” across the top.

Although not captured in the text herein, the trademark contains unique lettering – both in style,

size, lines, and angles.

        35.     PBAs and OCTAs are provided to Samsung’s authorized service providers – free

of charge – for the limited purpose of repairing damaged Samsung devices. PBAs and OCTAs

are never supposed to be provided – sold or otherwise – to distributors such as All Pro for sale on

the open market. However, All Pro, Chung, and Porcarello saw an opportunity to make money

and circumvent their obligations to Samsung. To maximize on this opportunity, All Pro, Chung,

Porcarello, and a third party engaged in an unlawful scheme to (1) wrongfully acquire Samsung

parts; (2) assemble the parts into counterfeit phones; and (3) sell them in the market.

Accordingly, Chung and Porcarello improperly took all of the Samsung parts necessary to build

a phone and sold them to the third party for less than fair market value. The third party

assembled the parts into counterfeit phones (bypassing Samsung’s rigorous assembly protocols)

and sold them to All Pro. All Pro sold these assembled counterfeit phones to the market. To

compensate and induce Chung and Porcarello, All Pro bribed them, in strict contravention of

their obligations to Samsung.

        36.     Based on information and belief, component parts were ultimately assembled to

make at least 16,318 counterfeit Samsung mobile devices that were sold with the Samsung

trademark.

        37.     Samsung spends considerable time and money hiring and training skilled workers

to assemble its phones. Additionally, Samsung has quality controls to ensure its phones live up

to the quality known by the public from Samsung. The mobile devices that were assembled by




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 12
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18               Page 13 of 37 PageID 3524


the third party and sold by All Pro did not have the same procedures, facilities, skilled and

trained workers, equipment and technology to assemble the devices pursuant to Samsung’s

rigorous technical and quality specifications.

       38.     The assembled phones contained Samsung’s signature mark “Samsung;”

however, the phones were not genuine Samsung phones because they were not assembled by

Samsung pursuant to its rigorous specifications as previously stated.        Accordingly, these

counterfeit phones likely caused confusion to the buyers because the marks and the parts within

the phones led consumers to believe these were genuine Samsung phones that were assembled

according to Samsung’s rigorous conditions.

       39.     On information and belief, to encourage the improper conduct by Samsung

employees, All Pro bribed, paid kickbacks, made secret payments, and paid improper gratuities

to Chung and possibly to the other Employee Defendants in order to induce the Employee

Defendants to breach Samsung’s policies and their duty of loyalty to Samsung. By accepting

such payments and gifts, these Employee Defendants violated Samsung’s policies and

procedures and breached fiduciary duties they owed to Samsung.

       40.     All Pro knew that the Employee Defendants likely would be breaching Samsung

Policies by engaging in this conduct because it is commonplace in the telecom industry for

companies to have policies prohibiting an employee from acting against the company’s interest.

All Pro has been in the telecom industry for over fifteen years and its high level employees have

substantial experience in the telecom industry. Likewise, All Pro knew that Samsung requires a

duty of loyalty to Samsung because All Pro and Samsung have entered into numerous contracts

with one another requiring as much. Specifically, All Pro, in its Distributor Agreement with

Samsung, agreed that it would not disclose confidential or proprietary information belonging to




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 13
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 14 of 37 PageID 3525


Samsung. Therefore, All Pro knew that Samsung employed contractual provisions to ensure that

Samsung information/equipment would not be used for unintended purposes.

       41.      All Pro received these completed phones from the build kits, and upon

information and belief, caused them to be sold and/or sold the counterfeit phones to others

through interstate commerce, including, but not limited to: (1) advertising online; (2) using the

mail to effectuate transactions; and (3) using bank accounts/credit cards to facilitate such

transactions.

       42.      The Distributor Agreement with Samsung did not permit All Pro to distribute

these phones. Additionally, the Distributor Agreement only permitted All Pro to purchase from

Samsung certain products at certain prices. Contrary to its contractual obligations, All Pro (1)

did not receive these phones from Samsung; (2) purchased phones in express contravention to

the Distributor Agreement; (3) wrongfully and without permission used Samsung trademarks and

logos; and (4) sold these counterfeit phones to unauthorized buyers.

       43.      Chung has admitted that he has received two $5,000 payments totaling $10,000

from All Pro, the recipient of a majority of the build kits.

       44.      Jang has admitted to accepting a used car valued at $4,400, a $600 gift card, and

meals and entertainment on at least 55 occasions from Samsung Telecom vendors, and using a

private jet for a personal vacation to Colorado that was provided by vendors.

F.     Chung and Porcarello Designed an Auction Process for Disposing of Samsung Parts,
       But Rigged The Auction for Their Own Benefit and to the Detriment of Samsung.

       45.      In 2012, certain Samsung employees, including Porcarello and Chung, were

involved in establishing an auction process to dispose of excessive, obsolete, and aged parts.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 14
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 15 of 37 PageID 3526


       (i)     Porcarello Rigs the Auctioneer Selection Process

       46.     Porcarello was responsible for identifying and proposing auction companies to

run the Samsung parts auctions. Unbeknownst to Samsung, Porcarello had a relationship with an

online auctioneer, Global Auction Link (“GAL”).

       47.     GAL is owned by Intrinsic Technology Partners, Inc. (“Intrinsic”). Intrinsic has a

business relationship with New Heights Marketing LLC (“New Heights”) and Porcarello is the

“Manager” for New Heights. In an Outside Sales Contractor Agreement, dated February 17,

2009 (the “Intrinsic Agreement”), New Heights agreed to provide “Sales and Marketing

Services” to Intrinsic, which are described as providing, among other things, “different types of

internet auction services.” In return for providing services to Intrinsic, New Heights is paid:

commissions equal to 28% of all Net Sales where New Heights facilitated the establishment of

the relationship; and an override commission equal to 3% of all net sales for people New Heights

introduces to Intrinsic and whom generate commissions for Intrinsic. Porcarello executed the

Intrinsic Agreement on behalf of New Heights.

       48.     When Porcarello identified potential auctioneers that Samsung Telecom could

hire to run the auctions, Porcarello included GAL on the list of potential auctioneers. In addition

to identifying potential auctioneers, Porcarello created an Online Auction Comparison Chart

(“Chart”). The Chart purported to objectively compare three potential auctioneers: (1) Global

Auction Link (“GAL”), (2) a third-party auction company, and (3) a to-be-created internally

hosted procurement site.

       49.     Given Porcarello’s secret financial interest in GAL, not surprisingly, the Chart

was not objective. On the contrary, it was designed to ensure that Samsung Telecom hired GAL.

The Chart contained 63 criteria for evaluating the three potential auctioneers. GAL satisfied all




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 15
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 16 of 37 PageID 3527


63 of the criteria, including offering the most favorable capabilities. The third-party auction

company satisfied 21 of the criteria and the internal procurement site satisfied just 14. Nowhere

in the Chart did Porcarello disclose that he had a financial relationship with GAL.

       50.     Porcarello prepared the request for proposal (“RFP”) to hire GAL that was

submitted to Samsung Telecom. Porcarello failed to disclose his financial relationship with GAL

in the RFP.    Ultimately, Chung selected GAL and, based on the rigged selection process,

Samsung Telecom hired GAL to conduct its parts auctions.

      (ii)     Chung Rigs the Auction Process to Favor All Pro

       51.     The first auction for select mobile device parts was held in 2012. Only All Pro

participated in the auction. All Pro’s starting bid of $2,018.00 was also the winning bid. In

Samsung’s second auction, All Pro was again the only vendor to participate, although other

vendors accepted invitations to the auction.       In total, from 2012 to 2015, All Pro won

approximately 60-70% of the auctions.

       52.     Chung rigged the auction process to reduce the number of companies All Pro

needed to compete against in order to win the parts auctions.          First, Chung instructed a

subordinate to reduce the number of companies that were invited to participate in the auction

from approximately 30 companies to just five, which included All Pro. Second, Chung changed

the criteria for who was allowed to participate in the auctions – Chung created the requirement

that each customer participating in the auction needed to purchase at least $2 million in parts

annually from Samsung. Although All Pro satisfied this requirement, other auction participants

did not.

       53.     Chung imposed the $2 million purchase requirement because he did not want a

specific customer bidding in the auctions because the customer was bidding on a regular basis




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 16
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 17 of 37 PageID 3528


and driving up prices. Although higher prices would have benefited Samsung Telecom, the

customer’s bidding activity was driving up costs for All Pro. Accordingly, Chung instructed a

subordinate to enforce the $2 million purchase requirement and kick out the customer, and any

other bidders that failed to satisfy the requirement. The subordinate was shocked that Chung

would cut off the customer from participating in the auctions and concluded the process for

selecting auction participants was unethical.

       54.      In addition to reducing All Pro’s competition in the auctions, Chung, on

information and belief, also provided All Pro with Samsung’s confidential information during

the auctions.

       55.      More specifically, Chung, with assistance from Porcarello and others, provided

the following confidential information: (1) providing advance information to All Pro regarding

the types of parts coming up for auction before the part descriptions were formally circulated to

the potential bidders; and (2) informing All Pro of bidding information relating to other bidders.

This confidential information not only permitted All Pro the ability to determine Samsung’s

pricing, but it also allowed All Pro to pre-sell the parts it bought at auction, thereby eliminating

its risk and undercutting the market and the profit Samsung made on the parts auctions.

       56.      The identity of bidders is known only to Samsung as well as the parts comprising

the lots that are to be auctioned. Additionally, the minimum bid is set exclusively by Samsung

based on its own method of calculation.

       57.      Chung’s actions reduced the number of bidders and allowed All Pro to win more

auctions and at lower prices. Conversely, the lack of competition, and resulting lower prices for

parts sales, cost Samsung Telecom significant sale proceeds that it otherwise was entitled to

receive.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 17
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 18 of 37 PageID 3529


G.     All Pro Provided Bribes and Kickbacks to the Employee Defendants.

       58.        To encourage the improper conduct described herein, All Pro bribed, paid

kickbacks, and made secret payments to Chung and Porcarello. By accepting such payments, the

employees violated Samsung’s policies and procedures and breached fiduciary duties they owed

to Samsung.

       59.        Chung has admitted that he has received two $5,000 payments totaling $10,000,

from All Pro, the recipient of a majority of the build kits and the winner of the majority of the

auctions. As described in more detail below, Chung was also provided payments by a third-party

company in connection with Chung’s wrongful efforts to help that company obtain iPhone parts.

       60.        Also, between 2009 and 2015, GAL’s owner, Intrinsic, paid Porcarello, through

New Heights, over $68,000 in commissions. Porcarello received approximately $45,000 of those

commissions between 2012 and 2015, after GAL had been hired by Samsung Telecom to run its

parts auctions.

H.     Extra OCTAs Included on Subcontract Purchase Orders and Missing OCTAs

       (i)        Song Doctored Subcontract Purchase Orders by Adding OCTAs to the
                  Orders, Causing Samsung to Ship Extra OCTAs to Vendors for Free

       61.        From January 2012 to about September 2015, Song and other Samsung

employees improperly added 64,000 OCTAs to subcontract purchase orders (“POs”) issued for

parts sent to various Samsung vendors.

       62.        Subcontract POs reflect parts needed by the vendors to perform warranty-related

repairs on certain mobile devices and reclaim OCTAs. Samsung staff created the subcontract

POs based on information provided by the vendors relating to the parts the vendors needed to

make the repair – repair the mobile devices and/or reclaim the OCTAs. Specifically, subcontract

POs are supposed to reflect only the actual parts needed for repairs and OCTA reclamation.



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 18
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18              Page 19 of 37 PageID 3530


       63.    Song and other Samsung employees, however, doctored subcontract POs by

adding OCTAs to the subcontract POs, causing Samsung to pull the extra OCTAs from

inventory and ship them to the vendors. Because the OCTAs were included on subcontract POs

for parts related to warranty repairs and reclamations, the vendors did not pay for the extra

OCTAs. Instead, the vendors received them free of charge.

       64.    As a result of the doctored subcontract POs, Samsung needlessly shipped over

60,000 OCTA to certain vendors. The OCTAs included on the doctored subcontract POs and

ultimately shipped to the vendors included Grade A (new) and Grade R (reclaimed) OCTAs.

Due to the missing and lost OCTAs, Samsung suffered losses in excess of $4.2 million.

       65.    The vendors, on the other hand, benefited financially from receiving the extra

OCTAs. Specifically, based on information and belief, the vendors responsible for reclamation

received Grade A and Grade R OCTAs, that they simply returned to Samsung as “reclaimed”

and sought compensation for purportedly reclaiming them when, in fact, no work was needed to

be performed because the OCTAs were either new or had already been reclaimed. The extra

OCTAs also appear to have been used to enhance the reclamators’ performance indicators, i.e.,

increase the percentage of successfully reclaimed OCTAs, which resulted in Samsung viewing

the reclamators more favorably and directing further reclamation business to them. In addition,

based on information and belief, vendors are believed to have sold the extra OCTAs or used

them in China in connection with these actions.

       66.    Song has admitted that he added OCTAs to subcontract POs. Song personally

altered subcontract POs – adding almost 49,000 extra OCTAs. These OCTAs were removed

from Samsung inventory and shipped to the vendors, at no cost to the vendors. Song admitted




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                     Page 19
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 20 of 37 PageID 3531


that he added the OCTAs to the subcontract POs in order to reduce excess parts in his repair

department and thereby enhance his potential bonus at Samsung.

       67.     Song has admitted to accepting payments from executives of third-party

vendors. In July 2012, he accepted a white envelope containing cash from an executive of a

third-party vendor, which Song claims was a wedding gift. In or around December 2014, Song

accepted another $300 from the executive, which Song claims was a gift for the birth of his

child. Song also admitted that once or twice a year he accepted a carton of cigarettes from

another executive.

I.     Porcarello Operated a Secret Side Business Selling Phones and Parts Away From
       Samsung.

       68.     In addition to his participation in the scheme described above, Porcarello also

operated a secret side business selling misappropriated Samsung parts and mobile devices of

competitors. To conceal his secret side business, Porcarello used a personal email address,

tpork11@gmail.com, and cautioned customers of his side business to only use his personal email

address and to be vague in texts because, you “Never know who is watching.” Other times, he

advised customers not to “make any noise,” and, “Whatever you do, please do not pass this along

or discuss with anyone until we talk.”

       69.     On November 19, 2013, Porcarello wrote an email to an executive with Ace

Wireless Group (“Ace”) “regarding “I777.”       Porcarello’s email, which was sent from his

personal email address, tpork11@gmail.com, stated, “I own 300 new 777 OCTA if interested.

shhhhh. have initial offer for $50, if I can get them to close.” The Ace executive responded, “I

can get broken devices from AT&T but they will only pay me $65 for the repair; we did the math

and would need to pay at the most $40 per LCD. Or if you want me to try and resell them to a




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                      Page 20
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 21 of 37 PageID 3532


customer, I can find out what they would pay.” Porcarello emailed back stating, “Cant sell

below $50. Dont want to make any noise. Dont do anything just yet. Thanks.”

       70.     On January 14, 2014, Porcarello used his tpork11@gmail.com email account to

send an email to this Ace executive stating, “Be very vague on text. Or just use this email. Never

know who is watching.” On January 21, 2014, Porcarello sent an email from his email account

at Samsung, t.porcarello@sta.samsung.com, to his personal email address, tpork11@gmail.com.

The email contained a sales sheet listing 132 phones, including the g2 D802, Nexus 5 D820,

Nexus 4 E960, and Optimus G Pro E980, for a total sales price of $46,875. Porcarello then

forwarded the email from his personal email account to a competing third party. In the email,

Porcarello inquired, “can you do anything with these? make sure you send to this email only…or

call me with info. Whatever you do, please do not pass this along or discuss with anyone until

we talk.”

       71.     On January 22, 2014, Porcarello sent a follow up email to the Ace executive with

new pricing. The email lowered the total sales price for the 132 phones to $44,750. That same

day, the Ace executive emailed Porcarello inquiring about where to wire the money and how to

pick up the phones. On January 23, 2014, Porcarello emailed the Ace executive wire transfer

instructions for a bank in Southlake, Texas and an account in the name of “New Heights

Marketing LLC, 1912 Cresson Drive, Southlake, Texas 76092, 817.808.8585.” As described

above, Porcarello is a Manager of New Heights and 1912 Cresson Drive is Porcarello’s home

address. In addition, between January 9, 2015 and February 10, 2015, Porcarello, using his

personal email account, exchanged emails with the Ace executive regarding the apparent sale of

phone chargers.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 21
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 22 of 37 PageID 3533


       72.     Based on information and belief, Porcarello sold misappropriated Samsung parts

(e.g., the “new 777 OCTA”) without Samsung’s authorization or permission.                     The

misappropriation of those parts harmed Samsung, while directly benefiting Porcarello.

Moreover, Porcarello’s operation of the secret side business conflicted with his duties and

obligations to Samsung.

J.     The Damage Done

       73.     As a result of the Employee Defendants’ deliberate breaches of their contractual

obligations and fiduciary duties to Plaintiff, as outlined above, and the conspiracy involving All

Pro, Chung, Porcarello, and Jang to carry out that unlawful conduct, as outlined above, Plaintiff

has been harmed.      By this action, Plaintiff seeks money damages as compensation for its

resulting losses and injunctive relief aimed at preventing Defendants from inflicting further

irreparable harm to Plaintiff and its business.

                                                  V.

                                             CLAIMS

A.     Count One: Federal Trademark Infringement Under Sections 32(1) and 43(a) of
       The Lanham Act – 15 U.S.C. § 1114(a) and 15 U.S.C. § 1125(a)(1)(B); and Texas
       Trademark Infringement – Tex. Bus. & Comm. Code § 16.102 (Against All Pro,
       Chung, Jang, and Porcarello).

       74.     Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

       75.     All Pro’s, Chung’s, Jang’s, and Porcarello’s conduct in diverting “build kits” as

part of a conspiracy to sell and offer for sale counterfeit Samsung devices constitutes use of

Samsung’s trademarks without authorization in violation of Sections 32(1) and 43(a) of the

Lanham Act, and in violation of Section 16.102 of the Texas Business and Commerce Code. All

Pro’s use of the Samsung trademark without authorization also constitutes use of Samsung’s



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 22
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                     Page 23 of 37 PageID 3534


trademarks on its website and other mediums without authorization in violation of Sections 32(1)

and 43(a) of the Lanham Act, and in violation of Section 16.102 of the Texas Business and

Commerce Code.

        76.     Section 32(1) of the Lanham Act protects against the use in commerce of “any

reproduction, counterfeit, copy, or colorable imitation of a registered mark in connection with the

sale, offering for sale, distribution, or advertising of any goods of services on or in connection

with which such use is likely to cause confusion, or to cause mistake, or to deceive.” 15 U.S.C.

§1114(1)(a). Section 43(a) of the Lanham Act likewise prohibits unfair competition with respect

to registered and unregistered trademarks. 15 U.S.C. § 1125(a)(1)(A). Texas trademark law is

consistent with federal law, and the Lanham Act is considered persuasive authority for

interpreting and construing the Texas statute. Tex. Bus. & Comm. Code § 16.001, et. seq.

        77.     A plaintiff demonstrates a violation of the Lanham Act if it can show, first, that its

mark is valid and, second, that the defendant’s use of the contested mark is likely to cause

confusion. A likelihood of confusion may result where a defendant uses a product that is similar

to the plaintiff’s product, but was not manufactured or distributed in accordance with the

plaintiff’s standards so that it is “materially different” or gives off a false sense of affiliation.

        78.     The counterfeit devices constructed and distributed by these Defendants are

materially different from Samsung’s genuine phones because, among other things: (1) the

devices were not assembled pursuant to Samsung’s rigorous quality control standards; (2) the

applicable warranties have been altered; (3) the Samsung packaging has been altered or is

otherwise not genuine; and (4) the phones are being sold under the fraudulent pretense that the

phones were assembled by Samsung. Further, Samsung is protected from the unauthorized

distribution of its products that do not meet its quality control standards because Samsung has




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                               Page 23
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                  Page 24 of 37 PageID 3535


established and abides by legitimate quality control procedures, and the distribution of non-

conforming products will diminish the value of Samsung’s registered trademark. Further, All

Pro’s use of Samsung’s registered trademark on its website establishes a likelihood of confusion

that All Pro is selling authorized Samsung products when in fact it is no.

       79.     The sale of counterfeit Samsung devices by Defendants All Pro, Chung, Jang, and

Porcarello has caused, and will continue to cause, a likelihood of confusion, mistake, and

deception as to the source of the counterfeit devices. The actions of these Defendants in

wrongfully constructing and distributing counterfeit devices which contain Samsung’s registered

trademarks has caused, and will continue to cause, irreparable damage to the business,

reputation, and goodwill of Samsung. Finally, Samsung has incurred significant damages as

result of these Defendants’ violations under the Lanham Act, and Samsung is entitled to relief.

       80.     Because All Pro’s, Chung’s, Jang’s, and Porcarello’s conduct was undertaken

knowingly, willfully, and deliberately, Plaintiff is entitled to recover exemplary damages and an

award of lost profits, disgorgement of their ill-gotten gains, and attorneys’ fees.

B.     Count Two: Violation of the Racketeer Influenced Corrupt Organizations Act
       (“RICO”), Section 1962(c) (Against All Pro, Chung, Jang, and Porcarello).

       81.     Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

       82.     By the conduct outlined above, Samsung has sustained injury to its business and

property by reason of Chung, Jang, Porcarello and All Pro’s RICO violations. Thus, Samsung

has standing to bring a civil claim against these Defendants for violations of RICO.

       (i)     Elements Common to All RICO Claims

       83.     RICO makes it unlawful for a person to engage in a pattern of racketeering

activity that is connected to the acquisition, establishment, conduct, or control of an enterprise.



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 24
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 25 of 37 PageID 3536


See 18 U.S.C. § 1962(a)–(d). Thus, the elements common to all claims under RICO are the

existence of a person, the existence of an enterprise, and the commission of a pattern of

racketeering activity. See id.

                (a)     All Pro, Chung, Jang, and Porcarello are persons for purposes of RICO.

        84.     Congress defined “person,” for purposes of RICO, to include “any individual or

entity capable of holding a legal or beneficial interest in property.” 18 U.S.C. § 1961(3). All Pro,

Chung, Jang, and Porcarello are all persons for purposes of RICO.

                (b)     All Pro, Chung, Jang, and Porcarello operated an enterprise involved in
                        interstate commerce.

        85.     Further, “enterprise” is defined broadly to include any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact, although not a legal entity.

        86.     Samsung is a legal enterprise engaged in and whose activities affect interstate

commerce.

        87.     All Pro, Chung, Jang, and Porcarello were employed by and associated with

Samsung for purposes of the time period in question.

        88.     All Pro, Chung, Jang, and Porcarello agreed to and did conduct and participate in

the conduct of Samsung’s affairs through a pattern of racketeering activity for the unlawful

purpose of intentionally defrauding Samsung.

        89.     Acting from within Samsung’s otherwise legitimate business operations, and

acting outside of their corporate and fiduciary authority, All Pro, Chung, Jang, and Porcarello

effectively hijacked Samsung’s Services Operations Department and used Samsung to conduct

racketeering activities that crossed state lines, thereby establishing the requisite nexus to

interstate commerce.



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 25
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 26 of 37 PageID 3537


        90.    All Pro, Chung, Jang, and Porcarello intentionally defrauded Samsung by offering

and accepting bribes and kickbacks in violation of fiduciary duties to Samsung and state and

federal law, manipulating subcontract purchase orders issued for parts to Samsung vendors,

diverting counterfeit devices to All Pro, manipulating the auctioneer selection process in favor of

GAL, manipulating the auction process in favor of All Pro, providing All Pro with Samsung’s

confidential information, and operating a side business selling misappropriated Samsung parts

and equipment. All Pro, Chung, Jang, and Porcarello each served a vital role in the commission

of the enterprise’s misconduct.

               (c)     All Pro, Chung, Jang, and Porcarello conducted a pattern of racketeering
                       offenses enumerated in 18 U.S.C. § 1961(1).

        91.    Pursuant to and in furtherance of their purpose to defraud Samsung, All Pro,

Chung, Jang, and Porcarello committed multiple related acts of racketeering activity forming the

basis of Samsung’s RICO claim against All Pro, Chung, Jang, and Porcarello.

        92.    By the conduct outlined above, All Pro, Chung, Jang, and Porcarello committed

numerous predicate acts of commercial bribery, money laundering, and participation in unlawful

monetary transactions. On information and belief, All Pro, Chung, Jang, and Porcarello

committed multiple predicate acts of mail fraud and wire fraud in violation of 18 U.S.C. § 1341

and § 1343, respectively.

        93.    Pursuant to and in furtherance of their purpose to defraud Samsung, by the

conduct outlined above, All Pro, Chung, Jang, and Porcarello committed the following predicate

acts:

               •       Tex. Pen. Code Ann. § 32.43(b) relating to commercial bribery, which
                       provides:

               A person who is a fiduciary commits an offense if, without the consent of his
               beneficiary, he intentionally or knowingly solicits, accepts, or agrees to accept



PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 26
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 27 of 37 PageID 3538


              any benefit from another person on agreement or understanding that the benefit
              will influence the conduct of the fiduciary in relation to the affairs of his
              beneficiary.

              •      18 U.S.C. § 1956 relating to the laundering of monetary instruments,
                     which makes unlawful:

              (a)(1) Whoever, knowing that the property involved in a financial transaction
              represents the proceeds of some form of unlawful activity, conducts or attempts to
              conduct such a financial transaction which in fact involves the proceeds of
              specified unlawful activity—
              (A)(i) with the intent to promote the carrying on of specified unlawful activity; or
              ...
              (B) knowing that the transaction is designed in whole or in part—
              (i) to conceal or disguise the nature, the location, the source, the ownership, or the
              control of the proceeds of specified unlawful activity . . .

              •      18 U.S.C. § 1957 relating to engaging in monetary transactions in property
                     derived from unlawful activity, which makes unlawful:

              (a) Whoever . . . knowingly engages or attempts to engage in a monetary
              transaction in criminally derived property of a value greater than $10,000 and is
              derived from specified unlawful activity

        For purposes of money laundering in violation of 18 U.S.C. § 1956, by the conduct

outlined above, All Pro, Chung, Jang, and Porcarello committed the following specified unlawful

activity:

              •      18 U.S.C. § 2320 relating to trafficking in counterfeit goods or services,
                     which makes unlawful:

              (a)(1) Whoever intentionally—
              (1) traffics in goods or services and knowingly uses a counterfeit mark on or in
              connection with such goods and services

        94.   All Pro’s, Chung’s, Jang’s, and Porcarello’s commission of predicate acts

spanned multiple years, are related in purpose, results, participants, victims, and methods of

commission, and represent a closed period of repeated conduct. Thus, All Pro, Chung, Jang, and

Porcarello’s predicate acts constitute a pattern of racketeering activity supporting Samsung’s




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 27
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 28 of 37 PageID 3539


RICO claim against them. All Pro’s, Chung’s, Jang’s, and Porcarello’s commission of these

predicate acts constitutes a violation of Sections 1962(a), (c), and (d).

       (ii)    All Pro, Chung, Jang, and Porcarello Violated Section 1962(c)

       95.     To establish a civil claim under Section 1962(c), a plaintiff must prove: (1) the

existence of an enterprise that affects interstate or foreign commerce; (2) that the defendant was

“employed by” or “associated with” the enterprise; (3) that the defendant conducted or

participated in the conduct of the enterprise’s affairs; and (4) that the participation was through

“a pattern of racketeering activity.”

       96.     Chung, Jang, Song, and Porcarello were all employees of Samsung during All

Pro’s, Chung’s, Jang’s, and Porcarello’s commission of the predicate acts. In particular, Chung

served as Samsung’s Senior Director of Service Operations. Similarly, Jang was Samsung’s

Procurement Manager. Finally, Porcarello acted as Samsung’s Inventory Control Manager.

       97.     Accordingly, in these respective roles and positions, Chung, Jang, and Porcarello

clearly possessed significant control within the Samsung’s Service Operation Department and

held decision-making power sufficient to establish a violation of Section 1962(c).

       98.     All Pro was associated with Samsung through a contractual business relationship

pursuant to the Distributor Agreement and Accessory Distributor Agreement during Defendants’

commission of the predicate acts.

       99.     Chung, Jang, and Porcarello, and All Pro conducted and participated in the

conduct of Samsung’s affairs by conducting an unlawful pattern of racketeering activity from

within Samsung’s otherwise legitimate business operations.

       100.    Through corruption, including the issuance and acceptance of bribery, All Pro,

Chung, Jang, and Porcarello usurped Samsung’s Service Operations Department and unlawfully




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 28
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 29 of 37 PageID 3540


conducted Samsung’s operations related to the procurement, repair, and distribution of Samsung

parts. All Pro, Chung, Jang, and Porcarello each acted as a principal player in the overall scheme

to defraud Samsung, without whom the scheme would not have been effected. By the conduct

outlined above, these Defendants agreed to and did conduct and participate in the conduct of

Samsung’s affairs through a pattern of racketeering activity for the unlawful purpose of

intentionally defrauding Samsung.

C.     Count Three: Breach of Contract (Against the Employee Defendants).

       101.      Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

       102.      The Employment Agreements are binding and enforceable contracts.

       103.      Pursuant to the terms of the Employment Agreements, the Employee Defendants

agreed to act in the best interest of Samsung, and to maintain the confidentiality of Samsung’s

“proprietary or confidential information or know-how belonging to [Samsung], whether or not in

written form.”

       104.      By virtue of their positions with Samsung, the Employee Defendants were in

possession of Samsung Telecom’s sensitive and highly confidential proprietary business

information and trade secrets.

       105.      Accordingly, in disclosing such information and in using it for unauthorized

purposes, the Employee Defendants breached their express contractual obligations under the

Employee Agreements to preserve and protect Samsung’s confidential information, and failed to

act in the best interests of Samsung Telecom by taking bribes to provide All Pro with preferential

treatment.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 29
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 30 of 37 PageID 3541


        106.    Pursuant to the terms of the Handbook, the Employee Defendants also agreed not

to engage in any business dealings that represent a conflict with the interests of Plaintiff while

employed by Samsung.

        107.    Accordingly, the Employee Defendants breached the Employment Agreements.

        108.    Plaintiffs performed all of their obligations under the Employment Agreements,

and any other duties owed to Employee Defendants pursuant to their employment position with

Plaintiff.

        109.    As a result of the Employee Defendants’ material breaches of their contractual

duties, Plaintiff has sustained damages in an amount to be determined by the trier of fact.

D.      Count Four: Breach of Fiduciary Duties (Against the Employee Defendants).

        110.    Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

        111.    The Employee Defendants owed Plaintiff fiduciary duties, including duties of

loyalty, due care, good faith, candor, and full disclosure.

        112.    The Employee Defendants breached their fiduciary duties to Plaintiff by, among

other things:    (i) misappropriating confidential information, property, and opportunities of

Plaintiff for their own benefit; (ii) intentionally diverting business opportunities for their own

benefit; and (iii) accepting payments from other persons or entities while employed by Plaintiff.

        113.    As a direct and proximate result of the Employee Defendants’ breaches of

fiduciary duties, Plaintiff has suffered, and continues to suffer, substantial injury, including a loss

of profits from the business opportunities diverted, damages incurred as a result of

misappropriated parts, and damages to Samsung’s image as a result of the distribution of

counterfeit Samsung parts, for which Plaintiff now seeks to recover actual, compensatory, and

consequential monetary damages in an amount to be determined by the trier of fact.


PLAINTIFF’S THIRD AMENDED COMPLAINT                                                            Page 30
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 31 of 37 PageID 3542


        114.     Because the Employee Defendants breached their fiduciary duties intentionally,

willfully, wantonly, maliciously, and without justification or excuse, Plaintiff is also entitled to

recover punitive damages from the Employee Defendants in an amount to be determined by the

trier of fact.

        115.     In addition, Plaintiff seeks an order requiring the Employee Defendants to

disgorge: (i) all compensation earned from Plaintiff during the period that they were in breach of

his fiduciary duties; (ii) all amounts that the Employee Defendants received from any other

person or entity while they were still employed by Plaintiff.

E.      Count Five: Aiding and Abetting Breach of Fiduciary Duties (Against All Pro).

        116.     Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

        117.     As alleged above, Employee Defendants breached their fiduciary duties owed to

Samsung.

        118.     All Pro had knowledge of the fiduciary relationship between certain of the

Employee Defendants and Samsung, the employer of Employee Defendants.

        119.     All Pro had awareness of its participation in the Employee Defendants’ breach of

their duty as: (1) All Pro paid bribes to certain of the Employee Defendants; (2) received

assembled phone kits comprising of parts belonging to Samsung (including PBAs and OCTAs);

and (3) communicated with certain Employee Defendants regarding auction lots and pricing.

        120.     Samsung has been damaged as a result of All Pro’s aiding and abetting certain of

the Employee Defendants’ breaches of their fiduciary duties.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 31
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18               Page 32 of 37 PageID 3543


F.      Count Six: Tortious Interference With Contract (Against All Pro)

        121.    Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

        122.    As fully described herein, Defendants conspired to wrongfully misappropriate

Plaintiff’s products, and violate certain of the Employee Defendants’ contractual obligations and

fiduciary duties to Plaintiff.

        123.    Samsung had valid and enforceable contracts with its employees, including the

Employee Defendants. All Pro willfully and intentionally interfered with Samsung’s

employment contracts with the Employee Defendants. Samsung has and will continue to incur

substantial damages as a direct and proximate cause of Defendants’ tortious interference with

Plaintiff’s contracts.

G.      Count Seven: Civil Conspiracy (Against All Pro, Chung, Jang, and Porcarello).

        124.    Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

        125.    Chung, Jang, Porcarello and All Pro were parties to an unlawful combination and

conspiracy.

        126.    The object of that unlawful combination and conspiracy was to further the

unlawful purposes of: (i) All Pro providing improper benefits to Chung, Jang, Porcarello in

exchange for preferential treatment with respect to parts; (ii) tortiously interfering with

Samsung’s business opportunities; (iii) misappropriating Samsung’s confidential information,

including information regarding auctions; (iv) infringing on Samsung’s trademarks;

(v) breaching fiduciary duties owed to Plaintiff; and (ix) breaching the terms of the Employment

Agreements.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                       Page 32
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 33 of 37 PageID 3544


       127.    The members of this unlawful conspiracy had a meeting of the minds as to the

object of their conspiracy.    In particular, Chung, Jang, Porcarello and All Pro agreed and

understood that the object of their goal was to commit the wrongful acts detailed above.

       128.    Chung, Jang, Porcarello and the All Pro have committed unlawful and overt acts

in furtherance of the conspiracy including, but not limited to, approving or otherwise acquiescing

in the wrongful conduct described above.

       129.    For instance, All Pro and Chung met on two separate occasions for the purpose of

planning their conspiracy. These meetings took place in approximately December 2013 and

March 2014. At each of these meetings, All Pro provided cash payments to Chung in the amount

of $5,000.00. At these meetings, All Pro and Chung had a meeting of minds. Specifically, at

these meetings, All Pro and Chung agreed that in exchange for cash payments, Chung would

provide All Pro with improper benefits, including rigging the auctions in favor of All Pro, and to

the detriment of Samsung.

       130.    Based on this unlawful conspiracy, Plaintiff has been harmed.        Accordingly,

Plaintiff seeks to recover actual, compensatory, and consequential monetary damages in an

amount to be determined by the trier of fact.

       131.    Because the acts pursuant to the conspiracy were committed knowingly, willfully,

maliciously, fraudulently, and with gross negligence, Plaintiff also seeks to recover punitive

damages in an amount to be determined by the trier of fact.

H.     Count Eight: Misappropriation Under the Texas Trade Secrets Act (Against All
       Pro, Chung, Jang, and Porcarello).

       132.    Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 33
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                 Page 34 of 37 PageID 3545


       133.    Under Texas law, a plaintiff can recover for misappropriation of trade secrets by

establishing (1) the existence of proprietary information or a trade secret, (2) a breach of a

confidential relationship or improper discovery of the information or secret, (3) a use of the

information or secret without the plaintiff's authorization, and (4) resulting damage.

       134.    Plaintiff’s pricing strategy and its cost of assembling phones are trade secrets

and/or confidential information of Samsung. Samsung strictly prohibits the use of build kits and

unauthorized third parties to assemble its phone because doing so would allow others to ascertain

the price at which it costs Samsung to create a phone. The third party than wrongfully purchased

complete build kits from Chung, Jang, and Porcarello. These build kits included PBAs and

OCTAs, items that are prohibited for sale on the open market. This prohibition, in effect,

prevented distributors from buying parts themselves and assembling them. As a result, the cost of

assembly was not known to the general public because the distributors could not assemble

complete Samsung phones without the OCTAs and PBAs.

       135.    From there, the third party assembled the phones. All Pro, knew or had reason to

know, that these assembled phones were derived from or through a person who had utilized

improper means to acquire it because All Pro knew Samsung was not the source of the

assembled phones and only Samsung could sell All Pro new Samsung phones. All Pro secured

this confidential information through improper means, namely bribery.

       136.    Additionally, with respect to the auction, All Pro would receive advance

knowledge of the auction from Chung, Porcarello and others before other bidders were provided

this information. This information included information about the products and models to be

auctioned and the starting bids. This information gave All Pro the ability to pre-sell the parts it

bought at auction, thereby eliminating its risk and undercutting the market and the profit




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 34
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                   Page 35 of 37 PageID 3546


Samsung made on the parts auctions. All Pro knew or had reason to know that this information

was improperly acquired as it was not available to the general public. All Pro secured this

confidential through improper means including bribery.

I.     Count Nine: Attorneys’ Fees

       137.    Plaintiff repeats and incorporates by reference the allegations set forth in the

preceding paragraphs.

       138.    Pursuant to Section 38.001, et seq. of the Texas Civil Practice and Remedies

Code, and pursuant to RICO, Plaintiff is entitled to reimbursement of its reasonable attorneys’

fees incurred as a result of bringing this action.

                                                     VI.

                                          JURY DEMAND

       139.    Plaintiff requests that a jury be convened to try the factual issues in this case.

                                                 VII.

                                     REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests that Defendants be cited to appear and answer the

foregoing complaint and, that on final trial, the Court enter judgment for Plaintiff and against

Defendants and award Plaintiff the following relief:

       a.      actual, compensatory consequential, and punitive damages;

       b.      disgorgement of the ill-gotten gains that Defendants earned or otherwise
               obtained through their unlawful conspiracy;

       c.      reasonable attorneys’ fees and costs of court;

       d.      permanent injunctive relief;

       e.      pre-judgment and post-judgment interest at the highest lawful rates; and




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                            Page 35
Case 3:15-cv-04108-L Document 229 Filed 03/09/18              Page 36 of 37 PageID 3547


     f.    such additional relief, at law and in equity, to which Plaintiff may be justly
           entitled.

                                              Respectfully submitted,

                                              BELL NUNNALLY & MARTIN LLP


                                              By: /s/ Benjamin L. Riemer                ______
                                                  Jeffrey J. Ansley
                                                  State Bar No. 00790235
                                                  jansley@bellnunnally.com
                                                  Jeffrey S. Lowenstein
                                                  State Bar No. 24007574
                                                  jlowenstein@bellnunnally.com
                                                  Benjamin L. Riemer
                                                  State Bar No. 24065976
                                                  briemer@bellnunnally.com

                                              3232 McKinney Avenue, Suite 1400
                                              Dallas, Texas 75204-2429
                                              (214) 740-1400 Telephone
                                              (214) 740-1499 Facsimile

                                              ATTORNEYS FOR PLAINTIFF
                                              SAMSUNG ELECTRONICS AMERICA,
                                              INC.




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                         Page 36
 Case 3:15-cv-04108-L Document 229 Filed 03/09/18                Page 37 of 37 PageID 3548


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2017, I electronically filed the foregoing paper(s) with
the Clerk of the Court using the ECF system which will send notification to all parties of record.
Additionally, a copy was sent to Yang Kun “Michael” Chung via email at
ykchung111@gmail.com.


                                                 /s/ Benjamin L. Riemer
                                                 Benjamin L. Riemer

3347388_1.docx / 10133.1




PLAINTIFF’S THIRD AMENDED COMPLAINT                                                        Page 37
